904 F.2d 701Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David A. SUMRALL, Plaintiff-Appellant,v.Walter R. TABLER, (In Person and as Official State Agent)Director, Health Claims Arbitrations Office,Defendant-Appellee.
    No. 90-7044.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 23, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Marvin J. Garbis, District Judge.  (C/A No. 89-3360-MJG).
      David A. Sumrall, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Carole Jean Messerschmidt, Assistant Attorney General, Baltimore, Md., for appellee.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      David A. Sumrall appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Sumrall v. Tabler, C/A No. 89-3360-MJG (D.Md. Mar. 6, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    